                  Case 2:24-mj-00020-BR Document 16 Filed 03/14/24                                                           Page 1 of 1 PageID 28
   AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                                                                                      DISTRICT OF



                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                                                                                                                       Case Number:

PRESIDING JUDGE                                                    PLAINTIFFS ATTORNEY                                      DEFENDANTS ATTORNEY


TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY

 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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